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NITED STATES DISTRICT COURT j=
UTHERN DISTRICT OF NEW YORK , 4

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| 03 MDL 1570 (RCC)
In re Terrorist Attacks on September 11,2001 ' ECF Case |

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This document relates to:
Federal Insurance Co., et al. v. Al Qaida, et al., Case No. 03-CV-6978 (S.D.N.Y.)
New York Marine and General Insurance Co. v. Al Qaida, et al., Case No. 04-CV-6105
(S.D.N.Y,)
Estate of John P. O'Neill, Sr., on behalf John P. O'Neill, Sr., deceased, and on behalf of
decedent's heirs-ut-law, et al. v. Republic of iragq., et al., Case No, 04-CV-1076
(S.D.N.Y.)

AMENDED STIPULATION AS TO SERVICE OF PROCESS, RELIEF FROM AND
SETTING ASIDE OF DEFAULT, AND EXTENSION OF TIME FO RESPOND TO
COMPLAINTS CONSOLIDATED UNDER MDL 1370

WITEREAS, the Plaintiffs in each of the three above-referenced cases consolidated under
03 MDL 1570 (“Plaintiffs”), and Defendant Republic of Irag (“Republic of Tray”), have entered
into a Stipulation as to Service of Process, Relief From and Setting Aside of Default, and
Extension of Time to Respond to Complaints Consolidated Under MDL 1570 (“Global
Stipulation #1”) that was endorsed by Judge Richard C, Casey on November 27, 2006 (MDL
Docket No. 1922);

WHEREAS, pursuant to the schedule set forth in Global Stipulation #1, the Republic of
lraq sent a letter to the Plaintiffs on January 1, 2007 identifying those areas relative to which the
Republic of Iraq requests supplemental pleading; and

WHEREAS, the parties wish to extend the remaining deadlines set forth in Global

Stipulation #1;

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IT IS HEREBY STIPULATED AND AGREED, by and beiween Plaintiffs and the
Republic of Irag, by and through their undersigned counsel, that the deadlines set forth in Global
Stipulation #1 shall be extended as follows:

(1) Plaintiffs shall serve their respective RICO Statements and/or More Definite
Statements concerning the Republic of Iraq, to the extent that they desire, on or before March 7,
2007;

(2) The Republic of Iraq shall file a consolidated Motion to Dismiss the Complaint in
each of the cases referenced above on or before May 21, 2007;

(3) Plaintiffs shall file a consolidated Opposition to the Republic of Iraq’s Motion to
Dismiss on or before July 20, 2007;

(4) The Republic of Iraq shall file reply papers, if any, on or before September 3, 2007.

IT 1S FURTHER HEREBY STIPULATED AND AGREED that all other provisions of

Global Stipulation #1 remain in full force and effect.

DATED: January oe @ , 2007 Respectfully submitted,

J. Bcott Tarbutton
1900 Market Street
Philadelphia, PA 19103

Attorneys for Federal Insurance Plaintiffs

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SO ORDERED:

Reka bth, Dated: 4 2 07

RICHARD CONWAY CASEY, U.S.D.J.

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